                          IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

    In re:                                                                 Chapter 11

    WOODBRIDGE GROUP OF COMPANIES,                                         Case No. 17-12560 (JKS)
    LLC, et al.,1
                                                                           (Jointly Administered)
                                   Remaining Debtors.


    MICHAEL GOLDBERG, as Liquidating Trustee of
    the Woodbridge Liquidation Trust, successor in
    interest to the estate of Woodbridge Group of
    Companies, LLC, et al.,

                                        Plaintiff,
                                                                          Adv. Proc. Case No. 19-51027 (JKS)
                              v.

    Kenneth Halbert,

                                        Defendant.


    NOTICE OF SERVICE OF AMENDED AND RESTATED DISCOVERY RESPONSES

                    PLEASE TAKE NOTICE that on the 20th day of March, 2023, a true and correct

copy of (i) Plaintiff’s Amended and Restated Responses and Objections to Defendant’s First Set

of Interrogatories; (ii) Plaintiff’s Amended and Restated Responses and Objections to

Defendant’s First Set of Requests for Production of Documents; and (iii) Plaintiff’s Amended

and Restated Responses and Objections to Defendant’s Second Set of Requests for Production of

Documents was served on the individual(s) listed below as and in the manner indicated:




1
    The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as follows:
    Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC (0172). The
    Remaining Debtors’ mailing address is 201 N. Brand Blvd., Suite M, Glendale, California 91203.


DOCS_DE:239784.4
 First Class Mail and Email
 (Counsel to Defendant Kenneth Halbert)
 Rochelle L. Gumapac, Esq.
 Agatha C. Mingos, Esq.
 White and Williams LLP
 600 N. King Street, Suite 800
 Wilmington, DE 19801
 Email: gumapacr@whiteandwilliams.com; mingosa@whiteandwilliams.com

 First Class Mail and Email
 (Counsel to Defendant Kenneth Halbert)
 Heidi J. Sorvino, Esq.
 James Vandermark, Esq.
 Travis Powers, Esq.
 White and Williams LLP
 7 Times Square, Suite 2900
 New York, NY 10036
 Email: sorvinoh@whiteandwilliams.com; vandermarkj@whiteandwilliams.com;
 powerst@whiteandwilliams.com




                      [Remainder of Page Intentionally Left Blank]




                                           2
DOCS_DE:239784.4
 Dated: March 20, 2023   PACHULSKI STANG ZIEHL & JONES LLP

                         /s/ Colin R. Robinson
                         Richard M. Pachulski (CA Bar No. 90073)
                         Andrew W. Caine (CA Bar No. 110345)
                         Bradford J. Sandler (DE Bar No. 4142)
                         Jason S. Pomerantz (CA Bar No. 157216)
                         Colin R. Robinson (DE Bar No. 5524)
                         919 North Market Street, 17th Floor
                         P.O. Box 8705
                         Wilmington, Delaware 19899 (Courier 19801)
                         Tel: (302) 652-4100
                         Fax: (302) 652-440
                         Email: rpachulski@pszjlaw.com
                                 acaine@pszjlaw.com
                                 bsandler@pszjlaw.com
                                 jspomerantz@pszjlaw.com
                                 crobinson@pszjlaw.com

                         -and-

                         KTBS LAW LLP
                         f/k/a Klee, Tuchin, Bogdanoff & Stern LLP
                         Kenneth N. Klee (pro hac vice)
                         Michael L. Tuchin (pro hac vice)
                         David A. Fidler (pro hac vice)
                         Robert J. Pfister (pro hac vice)
                         1801 Century Park East, 26th Floor
                         Los Angeles, California 90067
                         Tel: (310) 407-4000
                         Fax: (310) 407-9090

                         Counsel for the Plaintiff




                                 3
DOCS_DE:239784.4
